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  14
                           UNITED STATES DISTRICT COURT
  15
                          CENTRAL DISTRICT OF CALIFORNIA
  16

  17   IN RE: NATIONAL FOOTBALL                Case No. 2:15-ml-02668-PSG (JEMx)
       LEAGUE’S “SUNDAY TICKET”
  18   ANTITRUST LITIGATION                    EX PARTE APPLICATION FOR AN
                                               ORDER TO ADVANCE THE
  19   THIS DOCUMENT RELATES TO                HEARING DATE ON PLAINTIFFS’
       ALL ACTIONS                             MOTION TO AMEND
  20                                           SCHEDULING ORDER; AND
                                               DECLARATION OF SCOTT A.
  21                                           MARTIN IN SUPPORT THEREOF
  22
                                               Judge: Hon. Philip S. Gutierrez
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   1                              EX PARTE APPLICATION
   2         Pursuant to Local Rule 7-19, plaintiffs hereby respectfully make this ex parte
   3   application to advance the hearing date on their motion to amend the scheduling order
   4   currently noticed for April 15, 2022, to March 18, 2022. On February 18, 2022,
   5   plaintiffs filed their motion to amend the Court’s case scheduling order (Dkt. No.
   6   423). The motion was noticed to be heard on April 15, 2022, the first available date
   7   on the Court’s calendar. The motion seeks a continuance of the fact discovery cut-
   8   off, now set for May 15, 2022, and related dates for the briefing of plaintiffs’ motion
   9   for class certification and conducting expert discovery consistent with the time
  10   periods permitted under the current case schedules.
  11         In their motion and in their meet and confer sessions with the NFL Defendants
  12   regarding their motion, plaintiffs explained that in light of the fast approaching
  13   deadline for conducting fact discovery, they would be applying ex parte to advance
  14   the hearing date to March 18, 2022, a date that would be consistent with a 28-day
  15   timeline for noticing a hearing on a motion pursuant to Local Rules 7-9 and 7-10.
  16   Were the Court to rule on the motion on the same day now set for the hearing of the
  17   motion—April 15, 2022—the ruling would come only one month prior to the current
  18   close of fact discovery. Advancing the hearing is necessary to enable the parties to
  19   know sooner whether the case schedule and accompanying deadlines will be
  20   modified to allow them to plan accordingly. If the current hearing and case schedule
  21   is not modified, then plaintiffs will need to complete their review and analysis of
  22   many thousands of pages of document recently produced by the defendants and third
  23   parties, including five gigabits of data relating to football fan demographics produced
  24   just this past Saturday, and schedule numerous depositions to be taken prior to the
  25   current May 15, 2022 fact discovery cut-off. For these reasons, plaintiffs seek an
  26   order advancing the hearing date on their motion.
  27         While plaintiffs believe they would have been justified to request an expedited
  28   hearing schedule on their motion, they only request that the hearing be set on ordinary
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   1   rule time. The NFL Defendants will thus have the time permitted for response
   2   provided for by the Local Rules.
   3         Pursuant to Local Rule 7-19.1, counsel for plaintiffs gave notice of this ex
   4   parte application by way of a telephone call with counsel for the NFL Defendants on
   5   February 18, 2022. See Declaration of Scott A. Martin in Support of Plaintiffs’ Ex
   6   Parte Application, ¶ 3, accompanying this application. Counsel for plaintiffs
   7   informed counsel for the NFL Defendants of their intention to file their ex parte
   8   application on February 22, 2022. Counsel for the NFL Defendants stated that they
   9   will “defer to the Court’s preference,” but do not consent to relief requested by this
  10   ex parte application.
  11         Contact information for the NFL Defendants’ counsel is as follows:
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                        MEMORANDUM OF POINTS AND AUTHORITIES
   1

   2         On February 18, 2022, based on the NFL Defendants’ failure to comply with
   3   the Court’s deadline for substantially completing their production of documents, and
   4   the prejudice plaintiffs will suffer as a result of the late production if the fact
   5   discovery deadline were not extended, plaintiffs moved to amend the Court’s case
   6   scheduling order to extend the time to conduct fact discovery and continue related
   7   deadlines for briefing plaintiffs’ motion for class certification and to conduct expert
   8   discovery. (Dkt. No. 423) The earliest hearing date that plaintiffs’ motion could be
   9   noticed for hearing was April 15, 2022, which is only one month prior to the close of
  10   fact discovery. Plaintiffs make this ex parte application to advance the hearing on
  11   their motion to March 18, 2022.
  12         A party seeking ex parte relief must show (1) irreparable injury if the
  13   underlying motion is heard on the current schedule; and (2) that the moving party did
  14   not create the crisis that requires ex parte relief. See Mission Power Eng’g. Co. v.
  15   Continental Cas. Co., 883 F. Supp. 488, 492 (C.D. Cal. 1995).
  16         As discussed in more detail below, plaintiffs will suffer irreparable injury if
  17   the hearing date is not advanced. Proceeding with the current hearing date would
  18   require that plaintiffs immediately deploy their resources to conduct a highly
  19   compressed review and analysis of many thousands of pages of documents belatedly
  20   produced by the NFL Defendants—and notice numerous depositions based on that
  21   review and analysis—to meet the current May 15, 2022 deadline. Plaintiffs
  22   respectfully submit that earlier resolution of whether the fact discovery cut-off will
  23   be extended is in the best interests of the parties and efficient case management.
  24         Plaintiffs filed their motion to modify the Court’s scheduling order shortly
  25   after reaching an impasse with the NFL Defendants regarding plaintiffs’ proposed
  26   modifications to the case schedule.
  27         Plaintiffs are not seeking the ex parte relief to gain any unfair advantage over
  28   the NFL Defendants. If this ex parte application is granted, they will have the same
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   1   time to file their opposition to plaintiffs’ motion as they would have had pursuant to
   2   the briefing schedule contemplated in the Local Rules.
   3         A.     Plaintiffs will Suffer Irreparable Injury if Their Motion is Heard
   4                on the Current Schedule.
   5         As explained in their motion, plaintiffs are seeking to amend the Court’s
   6   scheduling order because: (a) the NFL Defendants produced many thousands of
   7   pages of documents after the Court-ordered deadline to substantially complete their
   8   production of documents and after the date they represented they had substantially
   9   completed their production of documents; and (b) the NFL Defendants made
  10   inaccurate statements in an interrogatory response denying the existence of important
  11   football fan data they actually possessed and which was only produced this past
  12   Saturday. Plaintiffs will be prejudiced if their motion can only be heard just one
  13   month before the current fact discovery cut-off.
  14         B.     The NFL Defendants’ Actions Created the Need for Ex Parte
  15                Relief.
  16         The NFL Defendants’ late production of documents and shortcomings in their
  17   discovery responses have caused the problems giving rise to plaintiffs’ motion and
  18   their ex parte application. Plaintiffs’ requested ex parte relief should be granted so
  19   that they are not prejudiced by circumstances not of their making.
  20         For the foregoing reasons, plaintiffs respectfully request that their ex parte
  21   application be granted.
  22

  23   Dated: February 22, 2022                      Respectfully submitted,
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